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16
                     IN THE UNITED STATES DISTRICT COURT
17
                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
                                  SOUTHERN DIVISION
19
     MASIMO CORPORATION,                      ) Case No. 8:20-cv-00048-JVS-JDE
20   a Delaware corporation; and              )
     CERCACOR LABORATORIES, INC.,             ) RESPONSIVE POST-TRIAL BRIEF
21   a Delaware corporation                   ) OF MASIMO CORPORATION AND
                                              ) CERCACOR LABORATORIES, INC.
22               Masimo,                      )
                                              ) Trial:    11/05/2024
23         v.                                 )
                                              ) Hon. James V. Selna
24   APPLE INC., a California corporation     )
                                              )
25               Defendant.                   )
                                              )
26                                            )
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28                       ROPOSED TO BE FILED UNDER SEAL
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1                              TABLE OF ABBREVIATIONS
2
3    MBR       Masimo’s Opening Post-Trial Brief (Dkt. 2429)
4    MFF       Masimo’s Post-Trial [Proposed] Findings of Fact and Conclusions of Law
               (Dkt. 2430)
5    ABR       Apple’s Opening Post-Trial Brief (Dkt. 2447)
6    AFF       Apple’s Post-Trial [Proposed] Findings of Fact and Conclusions of Law
               (Dkt. 2448)
7
8    All emphasis in quotations is added unless noted otherwise.

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1                                    I. INTRODUCTION
2          Apple’s brief begins by speculating why “Joe Kiani chose to file this suit.” Apple
3    ignores the obvious reason: to stop Apple’s brazen misappropriation of trade secrets and
4    patent infringement. Kiani spent his entire professional life leading Masimo to develop
5    the most accurate non-invasive monitoring technology on earth and understands the
6    unfairness in Apple quickly misappropriating that technology.
7          Trial overwhelmingly demonstrated Apple’s misappropriation. Apple determined
8    a key feature of its watch was health technology. Having zero experience, Apple sought
9    a third-party to use as a “stepping stone” to develop health technology. Apple identified
10   Masimo as the “standout” candidate and told Masimo it wanted to work together. But
11   then Lamego—who Apple recognized was “one of Joe’s key guys”—offered to solve
12   Apple’s health monitoring problems. When Hotelling saw Lamego’s email, he quickly
13   strategized that Apple could get what it needed by acquiring Masimo’s “people” instead
14   of working with Masimo. Apple then stopped discussing any partnership with Masimo
15   the same day that Hotelling interviewed Lamego. Apple recognized Lamego’s relevant
16   knowledge was “confidential” to Masimo and paid him handsomely for his “specialized”
17   experience that Apple was “deeply in need of.” Apple then aggressively sought ideas
18   from Lamego, who readily provided Masimo’s trade secrets because he was eager to
19   show he was the “real deal.” And, when Apple realized Lamego posed a threat to
20   Apple’s confidential information, it insulated him from Apple’s information while using
21   him as a “consultant” to obtain Masimo’s information.
22         Rather than address this damning evidence, Apple offers hindsight excuses.
23   Apple now rewrites history, arguing it sought only “general” knowledge from Lamego.
24   But Apple’s contemporaneous documents reveal otherwise: Apple deeply needed
25   Lamego’s “specialized” knowledge. Apple also relies on its witnesses’ self-serving
26   blanket denials. But those witnesses repeatedly admitted they had no basis for their
27   denials. Finally, Apple astonishingly argues Masimo should have filed suit earlier. But
28   Apple admits Masimo could not have learned facts sufficient to bring suit until well
                                           -1-
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1    within the statute of limitations. The Court should find misappropriation, enter a
2    permanent injunction, and award Masimo attorneys’ fees.
3                                      II. ARGUMENT
4    A.    Trade Secret L4
5          1.    Masimo Possessed L4
6          Apple disputes whether Masimo possessed the “
7                                    ” portion of L4. ABR at 7. But Apple omits the word
8    “or” before that phrase. Apple thus ignores that L4 recites two alternatives: “
9
10                     .” Thus, Masimo need not prove possession of                       .
11   MBR at 8 (citing Masimo Corp. v. True Wearables, Inc., 2022 WL 17083396, at *10-
12   11 (C.D. Cal. Nov. 7, 2022) (finding misappropriation where Masimo showed it
13   possessed two of three alternatives)). Apple does not contest Masimo possessed the L4
14   alternative Apple misappropriated: “                                                .”
15         Regardless, Masimo proved possession of                         . Apple concedes
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24         Apple also argues
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28               Though not required, Masimo possessed                           .
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1          2.     L4 Has Value From Not Being Generally Known
2                 a.    Apple Applies The Wrong Legal Standards
3          Masimo must show L4 “[d]erives independent economic value, actual or
4    potential, from not being generally known to the public or to other persons who can
5    obtain economic value from its disclosure or use.” Cal. Civ. Code § 3426.1(d)(1). Thus,
6    the focus is on whether the information derives value from not being generally known—
7    not whether it has been published or could be derived from public sources.
8          This Court recognized—and the Federal Circuit affirmed—that publication alone
9    does not render information “generally known.” Masimo Corp. v. True Wearables, Inc.,
10   2022 WL 205485, at *3 (Fed. Cir. Jan. 24, 2022); see also DVD Copy Control Ass’n,
11   Inc. v. Bunner, 116 Cal. App. 4th 241, 251 (2004). As the Court explained, information
12   “available in trade journals, reference books, or published materials” could be the basis
13   for a “readily ascertainable” defense. Masimo Corp. v. True Wearables Inc., 2021 WL
14   2548690, at *4 (C.D. Cal. Apr. 28, 2021) (quoting CUTSA legislative history). But the
15   Court already held that Apple has no such defense here. Dkt. 1284 at 3-4.
16         Apple incorrectly argues Masimo must perform a “survey of literature or other
17   research” to show that its trade secrets are not generally known. ABR at 8 (citing Atmel).
18   This Court has already rejected this survey argument, explaining:
19         This case is also unlike Atmel Corp. v. Info. Storage Devices, Inc., 189
           F.R.D. 410, 416 (N.D. Cal. 1999), in which the court excluded proposed
20
           expert testimony at the Daubert stage because the expert “consciously
21         refrained, at the direct suggestion of litigation counsel, from educating
           himself on the universe of literature in the relevant time frame or even
22
           determining what he himself had been aware of during the relevant period
23         or what others in the industry generally knew;” instead choosing “to argue
           that if he personally could not now remember knowing about the seventeen
24
           claimed trade secrets prior to the end of 1992, then they must not have been
25         generally known in that time frame.”
26   Dkt. 1901 at 5. Indeed, courts routinely find trade secrets exist without mentioning any
27   survey evidence. See, e.g., True Wearables, 2022 WL 17083396, at *12, *14, *17; Tyan,
28   Inc. v. Garcia, 2017 WL 1658811, at *15 (C.D. Cal. May 2, 2017); PQ Labs, Inc. v.
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1     Yang Qi, 2014 WL 4954161, at *3 (N.D. Cal. Sept. 30, 2014).
2                  b.      Masimo Proved L4’s Economic Value
3           Kiani and Diab explained L4’s economic value. Kiani ¶¶138-47; Diab ¶¶218-19.
4     Both Kiani and Diab explained L4 enables Masimo’s products to deliver superior
5     clinical accuracy. Diab ¶¶218-19; Kiani ¶¶139-41; MFF ¶107. And because of L4’s
6     value, Masimo marks its                              “Confidential and Proprietary” and
7     does not share them with others. Scruggs ¶14; Diab ¶219; MFF ¶105; JTX-937.
8           Apple argues Masimo offered no witness who assessed public and industry
9     knowledge of L4. ABR at 8. Apple is wrong. Kiani explained that competitors’
10    products exhibit poor performance because of light piping, indicating they do not
11    appreciate                                                 . Kiani ¶¶140-42. Indeed,
12    Nellcor—the industry leader with 90% market share at the time—
13                                                      . Kiani ¶142; Diab ¶219. Apple was
14    also unaware of L4 until Lamego revealed it. Madisetti ¶117. And Masimo took years
15    to develop L4. Madisetti ¶115; MFF ¶¶26-44. This demonstrates that highly qualified
16    engineers throughout the industry did not understand L4. Madisetti also explained why
17    L4 had value from not being generally known. Madisetti ¶¶115-127.
18                 c.      Apple’s References Do Not Show L4 Is Generally Known
19          Apple ignores much of the above evidence and argues Masimo conceded on cross
20    that “concepts claimed by L4” were disclosed in Nellcor and Masimo patents. ABR at
21    9. But such general “concepts” fall well short of L4. Further, Kiani on cross refuted
22    Apple’s assertion by explaining Nellcor “
23                      .” T1-1 at 107:4-25. Diab on cross likewise refuted Apple’s assertion
24    by explaining the Masimo patents “did not disclose any technique on how to measure
25    [light piping] or how to minimize it.” T1-2 at 52:8-14. Masimo’s        are not disclosed
26    in any patent. Diab ¶219; T1-2 (Diab) at 52:8-14; Scruggs ¶14; Kiani ¶146.
27          Apple relies solely on Petersen (JTX-3778) as supposedly disclosing
28                               . But Apple’s expert identified Petersen after searching for
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1     hundreds of hours and never attempted to assess whether it was known generally. MBR
2     at 11. Regardless, Petersen “
3                                                          .” Kiani ¶143; see also Diab ¶237;
4     T1-2 (Diab) at 103:7-105:4; MFF ¶¶115-23; JTX-3778 at FIGS. 4-5, 6:13-15; 7:7-31,
5     7:65-8:2. Petersen teaches its software calibration “provide[s] adequate cancellation of
6     shunted light to allow for increased accuracy in measurements.” JTX-3778 at 6:41-43.
7     Thus, Petersen suggests no need to                    . See Kiani ¶143; T3-1 (Madisetti)
8     at 19:6-23, 74:19-79:7; T2-2 (Madisetti) at 80:6-13; T6-1 at 135:7-136:18. Further,
9     Petersen is from Nellcor who
10                                          . Kiani ¶142; Diab ¶219.
11          Apple falsely argues
12                                            ABR 10 (citing T2-2 at 80:6-13). Speculating
13    about what designers “could” do does not show L4 was generally known. Regardless,
14    Madisetti said no such thing. He explained Petersen “
15                                                                         .” T2-2 at 80:6-13.
16                d.     Masimo Kept L4 Secret
17          Apple also argues the Masimo patents discussed above show Masimo did not keep
18    L4 secret. ABR at 14. As discussed, Apple is wrong. Supra §II.A.2.c. Apple relies on
19    Warren to argue Masimo’s patents make “
20           ” ABR at 14 (citing Warren ¶60). But Warren merely speculated that “
21                                                         .” Warren ¶60. He failed to show
22    Masimo’s patents disclose L4, including “                             .”
23                e.     Masimo Did Not Change The Scope Of L4
24          Apple argues that Kiani, Diab, and Madisetti tried to narrow L4 to avoid Apple’s
25    “generally known” references by importing requirements from Masimo’s specific test
26    procedure. ABR at 12. But Apple’s references do not disclose
27                                      . Supra §II.A.2.c. Thus, importing requirements from
28    Masimo’s procedures was not necessary to distinguish Apple’s references.
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1           Regardless, Masimo did not change the scope of L4. The Kiani and Diab
2     testimony on which Apple relies explains how Masimo implemented L4. T1-1 at 108:1-
3     5, 109-110; T1-2 at 60. Neither suggested L4 requires the specifics of how Masimo
4     implemented L4. Madisetti also never asserted L4 requires aspects not mentioned in L4,
5     like using a “                  ”                 , as Apple represents. ABR at 12 (citing
6     T2-2 at 80:14-81:20). Apple quotes its own questions asking whether L4 mentions such
7     aspects. Id. And Madisetti never testified as Apple represents. See id. He responded
8     to Apple’s use of
9
10                     , as recited in L4. T2-2 at 75:24-76:13; T3-1 at 26:16-27:14.
11          Moreover,
12                                 . Compare JTX-1045 with JTX-1064 at -859; MFF ¶273.
13    Masimo did not identify this evidence to change the scope of L4 as Apple suggests.
14    Masimo did so as damning evidence of Apple’s misappropriation. See Sargent Fletcher,
15    Inc. v. Able Corp., 110 Cal. App. 4th 1658, 1669 (2003) (explaining that showing
16    “access” to a trade secret and similar implementation as plaintiff is evidence that “the
17    party did not independently derive or reverse engineer”).
18          3.     Apple Misappropriated L4
19                 a.      Lamego Disclosed L4 To Apple
20          Apple argues it “independently developed”
21                                          ABR at 15. Not so. Before Lamego,
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5           Apple argues
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7                                                                                      Apple’s
8     continued use of the same test years after Lamego left demonstrates its value to Apple.
9     B.    Trade Secret L5
10          1.     Masimo Possessed L5
11          Masimo possessed L5 as written. Apple does not genuinely dispute otherwise.
12    Rather, Apple argues L5 lacks particularity because it is too broad and, with such
13    breadth, Masimo could not have possessed it. ABR at 19-20. Apple is wrong.
14          First, neither Masimo nor the Court limited L5 to
15          . Rather, in the order Apple cites, the Court correctly held “(1) [L5] identifies a
16    problem unknown in the industry and (2) comprises the knowledge that
17                               will fix it; it does not claim every solution to this problem.”
18    Dkt. 1901 at 8 (cited by ABR at 19). Thus, the Court correctly recognized L5 “does not
19    claim every solution to this problem” because the solution is immaterial. Masimo’s brief
20    did the same, explaining “L5 does not recite every possible means of
21                  to address the identified problem;” instead, it “concerns recognizing a
22    problem and designing circuits to address the problem.” Id. at 6 (citing Dkt. 1812 at 7).
23          In that context Madisetti agreed that L5
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27          Apple cites Waymo LLC v. Uber Techs., Inc., 2017 WL 2123560 at *7 (N.D. Cal.
28    May 15, 2017). ABR at 20. But this Court distinguished Waymo from L5 because the
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1     trade secret in Waymo covered “problems well known in the industry” whereas L5 is
2     directed to “a problem unknown in the industry….” Dkt. 1901 at 8. This Court also
3     rejected Apple’s argument that trade secrets are limited to “how” an “idea or
4     conceptualization” is used. Dkt. 1283 at 14. This is consistent with the California Court
5     of Appeal’s holding that a plaintiff may identify a trade secret that is not limited to a
6     particular solution. Altavion, Inc. v. Konica Minolta Sys. Lab’y, Inc., 226 Cal. App. 4th
7     26, at 51-52, 65 (2014) (plaintiff showed defendant took “design concepts” without
8     having to show it possessed every solution encompassed by those concepts).
9           Second, Apple argues Masimo cannot show possession of “every” solution
10    because it had “just one solution.” ABR at 20. As discussed, Masimo need not show
11    possession of “every” solution. Regardless, Masimo possessed several solutions. For
12    example,
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24          2.     L5 Has Value From Not Being Generally Known
25          Apple does not dispute L5’s value. MBR at 14. Instead, Apple argues references
26    disclose “
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6           Apple does not dispute any of these points. Instead, Apple again relies on Atmel.
7     ABR at 22. As discussed, Apple is legally incorrect. Supra §II.A.2.a. Moreover,
8     Masimo showed its engineers were “mind blown” by the L5 discovery and Ph.D.
9     engineers from both Apple and Broadcom were unaware of L5 before Lamego revealed
10    it. Madisetti ¶¶162-63; JTX-541 at -581; MFF ¶¶146, 148. That experienced engineers
11    at these companies were unaware of the problem also shows it was not generally known.
12          3.       Masimo Kept L5 Secret
13          Apple argues Masimo published only “concepts” of L5 in a patent (JTX-4233),
14    effectively conceding that Masimo did not publish L5 itself. ABR at 22-23. Indeed, the
15    Masimo patent on which Apple relies does not disclose the problem, any of Masimo’s
16    solutions, or even an actual circuit. MBR at 15. Apple also relies on Smith’s testimony
17    to argue Masimo did not keep secret
18                       ABR at 23. But that is not L5. Smith’s testimony says nothing about
19    the
20
21               . Apple did not ask Smith if Masimo kept such knowledge secret.
22          4.       Apple Misappropriated L5
23          Apple does not dispute
24                                   . Apple also does not seriously dispute that Lamego
25    disclosed                                                                 . But Apple
26    argues it did not misappropriate L5 for three reasons. ABR 23-25. Each fails.
27          First, Apple argues
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                                                -10-
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1     has no explanation for this “smoking gun.”
2     C.    Trade Secret D1, D3, And D10
3           1.    Masimo Possessed D1, D3, And D10
4           D1: Apple does not dispute that Masimo possessed the D1                         .
5     Apple challenges only that Masimo possessed
6                                                                       . ABR at 26.
7           Masimo possessed both features
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18          Apple criticizes Masimo for relying on multiple Masimo documents. ABR at 26.
19    The Court rejected Apple’s single-document possession “requirement” as “unsupported
20    by legal authority.” See Dkt. 1283 at 13; MBR at 23-24. Apple also faults Madisetti for
21    requiring more from Apple’s references than Masimo’s possession documents. ABR at
22    26, 28. Not so. Madisetti relied on Poeze’s testimony and corroborating Masimo
23    documents to show Masimo possessed D1,                                                .
24    Madisetti ¶¶176-84. On the other hand, Madisetti explained Apple’s references did not
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26                                                                                     .
27          D3: Apple argues
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                                               -12-
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3                                          . Apple is wrong for the reasons discussed above.
4           D10:
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11          Apple also argues Madisetti inconsistently opined that possession can be shown
12    by multiple Masimo documents while “generally known” cannot. ABR at 28. Not so.
13    Multiple documents from Masimo show it possessed the information because Masimo’s
14    witnesses testified the documents describe the same system. Madisetti ¶¶208-09 (Poeze
15    notebook entries), 230 (user manual), 231-48 (source code); Poeze ¶65. Apple provides
16    no evidence or reasoning to combine various Masimo references to prove that the
17    combined information is generally known by others. MBR at 25, 28-29. Regardless,
18    Apple’s references, even when combined, do not disclose the trade secrets.
19          2.     D1, D3, And D10 Have Value From Not Being Generally Known
20          Apple does not dispute evidence showing the value of D1, D3, and D10 to
21    Masimo. MFF ¶¶175-78, 191-93, 208-09 (Diab ¶¶153-57, 174-78, 238). Apple does
22    not argue D10 was generally known, so this element is undisputed for D10.
23          For D1 and D3, Apple again argues Atmel requires a literature search. ABR at
24    28. Apple is incorrect. Supra §II.A.2.a. Regardless, Masimo was unaware of D1 and
25    D3 before extensive R&D efforts and Ph.D. engineers at Apple were unaware of D1 and
26    D3 before Lamego revealed them. MFF ¶¶178, 193; Madisetti ¶¶204, 218. This shows
27    D1 and D3’s economic value from not being generally known. Apple’s other arguments
28    on D1 and D3 fail for the reasons discussed below.
                                               -13-
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1            D1: Apple argues Madisetti did not dispute that Weber 2018 discloses D1.
2     ABR at 28. Madisetti explained that Weber 2018 is irrelevant because it published years
3     after Apple’s misappropriation. MFF ¶189; Madisetti ¶202. And Sarrafzadeh conceded
4     that                                                                                   . T5-
5     1 at 14:7-23. Sarrafzadeh’s concession left nothing for Madisetti to dispute.
6            Apple argues Weber 2005 shows D1 was generally known because
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15           D3: Apple
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20                       Madisetti also identified additional reasons. MFF ¶198.
21           Apple argues D3 is “disclosed by Poeze 2011 when considered in combination
22    with Weber 2005 and Lamego 2011.” ABR at 29. As discussed, speculating about what
23    could be derived from patents does not show information is generally known. Supra
24    §II.A.2.a.   Regardless, Apple identifies no reason to combine the patents and its
25    proposed combination is still missing aspects of D3. See FF ¶¶198-206.
26           3.    Apple Misappropriated D1, D3, And D10
27           Apple argues the Apple Watch does not incorporate D1, D3, or D10. ABR at 30.
28    But Apple used, acquired, and disclosed D1, D3, and D10 in other ways.
                                              -14-
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1           Apple’s
2
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4                                                                         ABR at 30 (citing
5     SkinMedica, Inc. v. Histogen Inc., 869 F. Supp. 2d 1176, 1197 (S.D. Cal. 2012)). But
6     SkinMedica never limited the types of use that can constitute misappropriation. See id.
7     As the California Court of Appeal explained, a trade secret may be misappropriated by
8     use in many ways, including “research” or “development.” PMC, Inc. v. Kadisha, 78
9     Cal. App. 4th 1368, 1383 (2000); see also O2 Micro Int’l Ltd. v. Monolithic Power Sys.,
10    Inc., 399 F. Supp. 2d 1064, 1072 (N.D. Cal. 2005) (“[I]nternal experimentation” not
11    “resulting in a market product can constitute use.”).
12          Lamego’s Proposals Came From Masimo – Apple argues Lamego developed his
13    demodulation proposals at Apple using well-known concepts.           ABR at 31.     But
14    Lamego’s short time at Apple, and the similarity of his disclosures to his work at
15    Masimo, show that Lamego’s proposals came from Masimo. MFF ¶¶250-54, 319-37;
16    see also Sargent Fletcher, 110 Cal. App. 4th at 1669 (access and similarity creates a
17    “prima facie showing that the party did not independently derive or reverse engineer the
18    product”).    And Apple’s many Ph.D. engineers were unaware of Lamego’s
19    demodulation proposals. MFF ¶¶178, 193, 209; JTX-273 at -369.
20                       – For D1, Apple argues
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1     D.        Masimo Proved Any Required “Intent” Element
2               Apple misappropriated Masimo’s trade secrets under three alternative theories.
3     MBR at 32-35. Apple fails to rebut Masimo’s showing on any theory.
4          1.      Apple Knew Or Should Have Known It Was Using And Disclosing
5                  Masimo’s Trade Secrets
6               Apple argues Masimo did not present “a shred of evidence” that any Apple
7     employee knew or should have known Lamego was using Masimo’s trade secrets.
8     ABR at 35. Not so. For example, Apple identified Masimo as the “standout” candidate
9     that Apple would use as a “stepping stone” to develop health technology. MBR at 3.
10    Apple told Masimo it was the “platinum” in the space and wanted to work with Masimo.
11    Kiani ¶¶169-75. But, when Lamego offered to solve Apple’s problems, Hotelling
12    realized Apple could get what it needed by instead acquiring Masimo’s “people.” MBR
13    at 4. Apple then stopped discussing any partnership the same day Hotelling interviewed
14    Lamego. Id. After the interview, Apple hired Lamego for his “specialized” knowledge
15    that Apple knew was “confidential to Masimo.” Id. at 4-5. Apple then strategically
16    placed Lamego in multiple teams and extracted information from him. Id. at 4-5.
17    Recognizing Lamego’s loose lips posed a threat to Apple’s information, Apple insulated
18    him from its algorithms while continuing to use him to obtain Masimo’s information.
19    Id. at 6. And Apple continues to use Masimo’s trade secrets today as discussed above.
20              Rather than address this evidence, Apple relies on Lamego’s testimony that he
21    took care “to avoid intellectual property conflicts.” ABR at 35. But Lamego admitted
22    he did so for patents—not trade secrets. T3-2 at 39:21-40:4. Further, Lamego has
23    already been found to have misappropriated Masimo’s trade secrets in the past and he
24    admitted it is “very difficult” to distinguish between his personal “know how” and what
25    he learned from Masimo. T3-2 at 33:20-35:13, 125:7-25.
26              Likewise, Apple relies on its own employees’ testimony that they did not know
27    Lamego was giving them trade secrets. ABR at 35. But they repeatedly admitted they
28    had no idea what the trade secrets were. For example, Land testified he had “no
                                            -16-
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1     knowledge” or “exposure” to “any confidential information,” but then admitted he had
2     no way to verify his denial. T5-2 at 41:24-42:5 (“No, I can’t -- I have no way of knowing
3     -- because I don’t know the confidential information, I don’t know.”). Hotelling claimed
4     he did not receive trade secrets, but then admitted “[o]ther than the opening arguments
5     … I’m not aware of the trade secrets.” T4-2 at 95:6-9. Other witnesses provided similar
6     admissions. T3-2 at 150:12-151:1 (Russell-Clarke); T4-1 at 47:11-19 (Perica); T6-1 at
7     22:7-18 (Block). Further, Perica, Land, and Block all admitted they spent little time
8     with Lamego. Land ¶22; T4-1 at 47:20-22, 48:12-16; T5-2 at 39:15-17, 77:23-24.
9           Such bare denials have little, if any, probative value. See Gable-Leigh, Inc. v. N.
10    Am. Miss, 2001 WL 521695, at *16 (C.D. Cal. Apr. 13, 2001). In Gable-Leigh, the
11    defendant submitted declarations stating the plaintiff never “told them that the customer
12    lists were trade secrets and/or confidential.” Id. The Court discounted such testimony
13    because most declarants worked for defendant. Id. at *17. The Court explained:
14          [m]isappropriation and misuse can rarely be proved by convincing direct
            evidence. In most cases plaintiffs must construct a web of perhaps
15
            ambiguous circumstantial evidence from which the trier of fact may draw
16          inferences which convince him that it is more probable than not that what
            plaintiffs allege happened did in fact take place. Against this often delicate
17
            construction of circumstantial evidence there frequently must be balanced
18          defendants and defendants’ witnesses who directly deny everything.
19    Id. (quoting Q-Co Indus., Inc. v. Hoffman, 625 F. Supp. 608, 617 (S.D.N.Y.1985))
20    (granting preliminary injunction). Another court in this district also discounted mere
21    “denials from each” employee alleged to misuse trade secrets. JBF Interlude 2009 Ltd.,
22    v. Quibi Holdings LLC, 2020 WL 9311954, at *22 (C.D. Cal. Dec. 30, 2020); see also
23    UniRAM Tech., Inc. v. Taiwan Semiconductor Mfg. Co., 617 F. Supp. 2d 938, 944 (N.D.
24    Cal. 2007). As discussed, showing “access” to a trade secret and a similar product is “a
25    prima facie showing that the party did not independently derive or reverse engineer the
26    product.” Sargent Fletcher, 110 Cal. App. 4th at 1669. Masimo presented far more
27    direct evidence of Apple’s intent, easily overcoming Apple’s bare denials. MBR at §II.
28          Apple argues Hotelling and others had no reason to “doubt[]” Lamego’s
                                          -17-
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1     representation that he would not use Masimo’s intellectual property. ABR at 35. But
2     Apple ignores Lamego’s behavior. As evidenced at trial, Lamego is very talkative and
3     wanted to show Apple he was the “real deal.” T3-2 at 58:8-59:5. Further, contrary to
4     Hotelling’s self-serving testimony, the contemporaneous documents establish that
5     Hotelling and another Apple VP recognized that Lamego could misuse even Apple’s
6     trade secrets, so they took steps to insulate Lamego from Apple’s algorithms while
7     continuing to use him as a “consultant” to obtain ideas. JTX-15 at -009; MFF ¶256.
8           Apple also argues Masimo relied on “a single, out-of-context remark” in an email
9     about a sensor design being a “mess” to show Apple needed outside help. ABR at 36.
10    Apple ignores other evidence. The whole point of Projects Rover and Everest was to
11    obtain outside help. MBR at 3-5. Apple also mischaracterizes the “mess” email as
12    discussing only an outdated “showerhead design.” ABR at 36. The email referred to
13    Apple’s “sensor designs” as a “mess” on track to “fail” and “come off the product”
14    unless someone helped “change course and lead the team out of confusion.” JTX-337
15    at -427-28. Mansfield sent the email on September 13, 2013—just two weeks before
16    Lamego emailed Cook. Id. at -427. Regardless of the specific design referenced in the
17    email, the email shows the status of Apple’s efforts when Apple decided to hire Lamego.
18          Finally, Apple’s trial narrative that Apple’s “intent” was to hire Lamego for his
19    “general expertise” directly contradicts the contemporaneous documents. ABR at 36.
20    Apple gave Lamego an “exceptional” offer because of his “specialized experience that
21    we are deeply in need of on current and future n27 [watch project] sensors.” JTX-265
22    at -567; MFF ¶¶243-44; see also JTX-628 at -439 (“acquisition-like need for specialized
23    capability” Apple did not have). The contemporaneous evidence rebuts Apple’s denials.
24          2.     Apple Is Also Liable For Lamego’s Acts Under Respondeat Superior
25          Apple argues Masimo improperly seeks reconsideration of the Court’s orders that
26    respondeat superior does not apply to trade secret misappropriation. ABR at 34 (citing
27    Dkt. 1723 at 3; Dkt. 1901 at 19). Those orders followed the Court’s decision at the
28    charge conference not to instruct the jury on respondeat superior. Apple ignores that the
                                                 -18-
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1     Court previously held respondeat superior does apply to trade secret claims. Dkt. 361
2     at 9 (denying motion to dismiss and holding Masimo “stated a theory of
3     misappropriation based on respondeat superior”).         That decision was correct and
4     supported by extensive authority. See MBR at 33-34 (compiling cases).
5           Apple relies on the Court’s prior citation to Carr v. AutoNation Inc., 2018 WL
6     288018 (E.D. Cal. Jan. 3, 2018) (cited by ABR at 34). But Carr did not address
7     respondeat superior or the extensive authority applying respondeat superior to trade
8     secret claims. See id. at *2-3. Instead, it rejected a plaintiff’s attempt to impute all of
9     an agent’s knowledge on a corporation. Id. at *3 (rejecting allegations that a corporation
10    knew of a trade secret because its corporate investor employed someone who received
11    the trade secret years earlier). A later case addressed Carr in the context of former
12    employees alleged to have used trade secrets at their new employer. See Bombardier
13    Inc. v. Mitsubishi Aircraft Corp., 383 F. Supp. 3d 1169, 1187-88 (W.D. Wash. 2019).
14    There, the court agreed with Carr that the former employee’s knowledge could not
15    simply be imputed upon the new employer. Id. at 1187. But the court held the new
16    employer could be liable under respondeat superior if the employee acted “within the
17    scope of employment” even though “the employer may forbid it.” Id. at 1188.
18          Here, Apple does not deny that Lamego was acting within the scope of his
19    employment when he misappropriated Masimo’s trade secrets. Apple argues only that
20    Lamego testified “he does not believe” he gave trade secrets to Apple. ABR at 35. Such
21    a bare denial is not credible, particularly in view of Lamego’s behavior and testimony.
22    MBR at 34. Apple is liable under the doctrine of respondeat superior.
23          3.     Apple Also Acquired The Trade Secrets Through Improper Means
24          Apple argues that Masimo has not shown acquisition of a trade secret through
25    improper means. ABR at 33. Apple cites its prior brief’s discussion of cases to argue
26    improper means requires “specific intent to injure or defraud.” Id. (citing Dkt. 1765 at
27    17). But, as Masimo explained, Apple’s cases concerned the standards for proving
28    various crimes—not the elements of a civil CUTSA claim. See Dkt. 1812 at 18.
                                              -19-
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1           On the merits, Apple again cites to bare denials and company policies. ABR at
2     33, 35-36. As discussed, such evidence is not helpful. The evidence at trial showed that
3     Apple sought Masimo’s trade secrets from Lamego and paid far outside guidelines for
4     his “specialized” experience that Apple deeply needed. MFF ¶¶243-45. Apple did so
5     even though it knew that Lamego owed confidentiality obligations to Masimo. JTX-512
6     at -253; JTX-2937; MFF ¶¶233, 238, 249. Thus, Apple acquired Masimo’s trade secrets
7     through improper means by inducing Lamego to breach his obligations to Masimo. See
8     Cal. Civ. Code § 3426.1(b)(1); Cal. Civ. Code § 3426.1(b)(2)(A). Contrary to Apple’s
9     argument, Masimo never abandoned these theories. See Dkt. 2282 (COL) ¶¶8-9, 27-36.
10    E.    Apple’s Defenses Are Meritless
11          Apple uses brackets and ellipses to change the Court’s articulation of the legal
12    standard for statute of limitations. ABR at 37 (citing Dkt. 606 at 3). The Court explained
13    “when there is reason to suspect that a trade secret has been misappropriated, and a
14    reasonable investigation would produce facts sufficient to confirm this suspicion (and
15    justify bringing suit), the limitations period begins, even though the plaintiff has not
16    conducted such an investigation.” Dkt. 606 at 3. Thus, the statute of limitations applies
17    only if (1) Masimo had reason to suspect Apple misappropriated a particular trade secret
18    and (2) a reasonable investigation would have revealed facts sufficient to bring suit. The
19    evidence supports Masimo on both points.
20          First, Kiani explained why Masimo had no reason to suspect Apple’s
21    misappropriation until late 2019.     Kiani ¶¶206-12.     Apple identifies no contrary
22    evidence. Apple argues Masimo suspected misappropriation based on its January 2014
23    letter to Apple and Kiani’s testimony that Masimo was “worried” Apple was trying to
24    take trade secrets. ABR at 37, 39. But Masimo sent the letter before Lamego started at
25    Apple. JTX-2937. And Apple never explains how the letter or Kiani’s testimony shows
26    Masimo had reason to suspect any particular trade secret had been misappropriated.
27          Second, Apple identifies no evidence that a reasonable investigation would have
28    revealed facts sufficient to bring suit. Apple argues a reasonable investigation would
                                                -20-
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1     have showed Lamego “was working on physiological sensors.” ABR at 37. But Apple
2     then admits that fact would not “amount to trade secret misappropriation.” Id. Apple
3     thus admits that Apple working on physiological sensors (the only fact Apple asserts
4     Masimo could have learned) would not have been sufficient to bring suit.              That
5     admission alone dooms Apple’s statute-of-limitations defense.
6           Apple cites the Court’s statement that Dalvi’s representation “potentially should
7     have triggered an investigation.” ABR at 39. The issue is not whether Masimo should
8     have investigated, but what an investigation would have revealed. Apple identifies no
9     evidence that an investigation before 2017 would have revealed facts sufficient to bring
10    suit. The California Supreme Court rightly rejected statute-of-limitations defenses in
11    such circumstances because it is “contrary to public policy to require plaintiffs to file a
12    lawsuit ‘at a time when the evidence available to them failed to indicate a cause of
13    action.’” Fox v. Ethicon Endo-Surgery, Inc., 35 Cal. 4th 797, 815 (2005).
14          Apple addresses laches and waiver only in a footnote. ABR at 38, n.19. Those
15    defenses fail because Apple’s statute-of-limitations defense fails (Dkt. 1900 at 4) and
16    for additional reasons that Masimo explained (MBR at 40).
17    F.    Masimo Proved It Is Entitled To An Injunction And Attorneys Fees
18          1.     Masimo Is Not Barred From Receiving An Injunction
19          Apple argues Masimo had to explain in the complaint or during discovery the
20    bases and precise “scope” of the injunction it would seek after trial. ABR at 39-40.
21    Apple cites no authority for such a requirement. Indeed, Fed. R. Civ. P. 54(c) allows
22    the Court to issue an injunction “even if the party has not demanded that relief in its
23    pleadings.” Here, the parties agreed, and the Court ordered, in both pre-trial conference
24    orders that the Court would decide “[w]hether to enjoin Apple from further
25    misappropriation.” Dkt. 1483 at 15; Dkt. 2157-1 at 17; Dkt. 2280 at 12. Apple cannot
26    now argue that Masimo has somehow waived its right to an injunction. Regardless,
27    Apple is factually wrong for the reasons described in Masimo’s opening. MBR at 48.
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                                                 -21-
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1           2.     Masimo Satisfied the eBay Factors
2           Factor 1: Apple argues Masimo’s harm is speculative because Masimo described
3     what “would” happen if Apple continues its misappropriation. ABR at 40-41. But
4     Masimo presented significant evidence of the irreparable harm it already suffered and
5     will suffer if Apple continues its misappropriation. MBR at 35-36, 45 (cataloging
6     evidence). Apple ignores most of this evidence. Instead, Apple mischaracterizes
7     Masimo’s argument about chilling innovation as limited to “future misappropriation.”
8     ABR at 41. But Apple’s theft already chilled collaboration at Masimo. MBR at 45.
9     Without an injunction, Masimo engineers would continue to believe their collaborations
10    cannot be protected. Id. Apple does not explain how money could cure such harm.
11    Apple also argues Masimo never connected the trade secrets to Apple’s Blood Oxygen
12    feature. ABR at 41. But Apple again ignores Masimo’s evidence. MBR at 35-36.
13          Moreover, “[a] finding of misappropriation is generally adequate for a finding of
14    irreparable injury in trade secret cases.” Equate Media v. Suthar, 2024 WL 1217217, at
15    *3 (C.D. Cal. Mar. 20, 2014) (quoting Monster Energy Co. v. Vital Pharms., Inc., 2023
16    WL 8168854, at *18 (C.D. Cal. Oct. 6, 2023); Comet Techs. USA Inc. v. XP Power LLC,
17    2022 WL 4625149, at *2 (N.D. Cal. Sept. 30, 2022)). Citcon did not hold otherwise.
18    As Apple’s parenthetical shows, Citcon held the plaintiff is not automatically entitled to
19    injunctive relief. Citcon USA, LLC v. RiverPay Inc., 2022 WL 287563, at *2 (9th Cir.
20    Jan. 31, 2022). It did not reject a presumption of irreparable harm in trade secret cases.
21    Id. Apple’s other cited cases (San Miguel, Robert Bosch, and eBay) were trademark or
22    patent cases that said nothing about irreparable harm in trade secret cases.
23          Factor 2: Apple claims Masimo argued its “harm could be compensated via
24    money” until recently. ABR at 41-42. Not so. Masimo always sought an injunction.
25    Dkt. 1 at 61. None of Apple’s cases support Apple’s bright-line rule that a party cannot
26    seek an injunction if it also sought monetary relief. In fact, one of Apple’s cases refuted
27    Apple’s position by affirming damages and an injunction. Robert L. Cloud & Assocs.
28    v. Mikesell, 69 Cal. App. 4th 1141, 1150 (1999). The other two cases (Bennett and TD
                                               -22-
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1     Bank) held merely that foregoing a monetary remedy by itself does not establish no
2     adequate remedy at law. Masimo does not argue otherwise. Rather, Masimo presented
3     extensive evidence showing it had had no adequate remedy at law. MBR at 45-46.
4           Factors 3 and 4: Apple sets up a strawman by assuming an injunction against the
5     entire Apple Watch to fabricate an argument that such an injunction would cause
6     hardship and disserve the public interest. ABR at 43. As Masimo explained, L4 and L5
7     are inextricably linked to Apple’s sensor designs, so Apple should not be allowed to sell
8     watches with those sensor designs. MBR at 47. Apple identifies no evidence of hardship
9     to Apple or the public if Apple were not allowed to sell those sensor designs. Instead,
10    Apple relies solely on conclusory attorney argument of supposed harm to Apple, “third-
11    party businesses,” “suppliers,” “customers,” and “retail sellers.” ABR at 43. But
12    Apple’s witnesses repeatedly admitted Apple would suffer no harm. MBR at 46.
13    Apple’s brief similarly asserts the trade secrets “are essentially de minimis to Apple
14    Watch’s functioning.” ABR at 42. As a result, Apple should be able to easily remove
15    the trade secrets without causing hardship or disserving the public interest.
16          3.     Masimo is Entitled to Reasonable Attorneys’ Fees
17          Apple argues it did not intend to misappropriate because it did “everything it
18    could” to avoid obtaining Masimo’s trade secrets. ABR at 44. Not so. Apple
19    desperately sought to obtain Masimo technology. Supra §II.D1. After Lamego offered
20    to solve Apple’s problems, Hotelling devised a scheme to obtain Masimo’s information
21    by acquiring Masimo’s “people.” Id. Apple hired Lamego for his “specialized”
22    knowledge, which it knew was confidential, and quickly sought Masimo’s technology
23    from him. Id. Recognizing he posed a threat to Apple’s information, Apple insulated
24    him from its algorithms while continuing to use him to obtain Masimo’s information.
25          Apple largely ignores this evidence and argues Masimo should not obtain fees
26    because it focused its trade secrets and declined to pursue unjust enrichment at trial.
27    ABR at 44-45. Masimo focused the trade secrets to fit in the allotted trial time. And
28    Masimo focused its case on injunctive relief because that is the primary remedy in a
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1     trade secret case. As Masimo explained, Masimo sought to prevent Apple from using
2     Masimo’s monetary request as a “diversion” from Apple’s theft. T1-1 at 30:17-22.
3           Apple also relies on True Wearables. ABR at 44. Unlike True Wearables, Apple
4     obtained billions of dollars from using Masimo’s trade secrets. Apple is extraordinarily
5     well-funded with effectively limitless resources. See Mattel, Inc. v. MGA Ent., Inc., 801
6     F. Supp. 2d 950, 956 (C.D. Cal. 2011). Apple’s scheming is exactly the type of corporate
7     malfeasance that supports awarding attorneys’ fees. See Rogers v. B. Braun Med., Inc.,
8     Civ. No. 98-cv-250-B (RBB), Dkt. 390 at 12, Dkt. 415 (S.D. Cal. Sept. 13, 2004).1
9     G.    Masimo Proved Its Patent Ownership Claims
10          Apple argues Lamego contributed to the disputed patents at Apple, and nothing
11    suggests Diab contributed. ABR at 46-49. Apple is wrong for several reasons.
12          ’052 and ’670 Patents: Apple admits Lamego alone contributed the idea of
13    applying reflectivity to the Apple Watch sensor. Id. at 46-47. Apple now attempts to
14    trivialize Lamego’s reflectivity contribution as “modest.” Id. But Apple argued those
15    very limitations were the only aspects that were not well known. MFF ¶351.
16          Apple also argues Lamego’s contribution was not related to Masimo because he
17    did not work on a wrist-worn device at Masimo. ABR at 47. But the independent claims
18    of these patents are not limited to a wrist-worn device. T4-2 at 106:23-110:3; MFF ¶343.
19    They recite “electronic devices,” capturing Lamego’s work at Masimo. Id.
20          ’095 and ’390 Patents: Apple argues the concepts underlying these patents were
21    developed by Lamego and Hotelling at Apple because one figure of the patents (FIG. 4)
22    looks “similar to” a figure Lamego created just weeks after joining Apple. ABR at 48-
23    49. That figure does not suggest Lamego first conceived of the subject matter at Apple.
24    In fact, Lamego drawing it just weeks after joining Apple suggests it came from his prior
25    work at Masimo. Apple also does not dispute that the ’095 Patent Claim 17 and ’390
26    Patent Claim 1 recite analog-front-end circuitry nearly identical to what Diab taught
27    1
        The Court should ignore Apple’s untimely request for attorneys’ fees. Apple waived
28    its request by omitting it from the pretrial conference order. Dkt. 2157-1 at 15-17.
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1     Lamego years earlier at Masimo. MFF ¶¶357-64. Lamego’s contribution repeats, and
2     these patents claim, Lamego’s earlier work at Masimo. Id. ¶¶362-64.
3           ’754 Patent: Apple argues Lamego conceived of the concepts of the ’754 Patent
4     at Apple because certain subject matter is similar to a presentation and MATLAB script
5     he wrote at Apple. ABR at 47-48. Again, that does not show Lamego first conceived
6     of that subject matter at Apple. Both the presentation (JTX-3657) and MATLAB script
7     (JTX-880) repeat Lamego’s work                               . MFF ¶¶365-69.
8     H.    Masimo Proved Its Patent Inventorship Claims
9           Masimo proved Diab should be a named inventor on the ’052, ’670, ’095, and
10    ’390 Patents. MBR at 43-44. Apple’s arguments fail to show otherwise.
11          ’052 and ’670 Patents: Apple argues Diab did not contribute “anything” or his
12    contributions were not “significant.” ABR at 47. But Apple ignores that Diab conceived
13    of, and taught Lamego about, using reflective surfaces on sensors. MFF ¶¶353-55.
14    Diab’s contribution is significant because Apple asserts the reflectivity limitations are
15    the only aspects that were not well known. MFF ¶351. Apple also argues Diab did not
16    communicate with the Apple engineers about these patents. ABR at 47. But this Court
17    held coinventors need not work together. Dkt. 1715 at 51; see Univ. of Pittsburgh of
18    Commonwealth Sys. of Higher Educ. v. Hedrick, 573 F.3d 1290, 1298-99 (Fed. Cir.
19    2009). Regardless, Diab and Lamego communicated at Masimo. MFF ¶¶345, 10.
20          ’095 and ’390 Patents: Apple argues nothing shows Lamego learned these
21    concepts from Diab rather than his “education and experience outside” Masimo. ABR at
22    49. But Lamego had no knowledge or experience in noninvasive monitoring before
23    working at Masimo. Diab ¶¶139-42; T1-1 at 121:6-13; T1-2 at 11:16-17. And Apple
24    did not dispute Diab taught the ’272 patent’s subject matter to Lamego. Diab ¶¶139-42;
25    Madisetti ¶¶297-306; MFF ¶¶357, 362. Instead, Apple argues the concepts Diab taught
26    Lamego were well known. ABR at 48-49. But Apple argued the opposite to the Patent
27    Office (JTX-1900.1) and cannot reasonably argue otherwise now.
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1
                              CERTIFICATE OF COMPLIANCE
2
      The undersigned, counsel of record for Plaintiffs’ Masimo Corp. and Cercacor
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      Laboratories, Inc., certifies that this brief contains 25 pages, which [choose one]:
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        complies with the word limit of L.R. 11-6.1.
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      X complies with the page limit set by court order dated 12/18/2024.
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